                             Case 20-50534-KBO              Doc 11       Filed 04/01/20        Page 1 of 3




                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE


             In re:                                                         Chapter 11

             ZOHAR III, CORP., et al.,1                                     Case No. 18-10512 (KBO)

                              Debtors.                                      Jointly Administered


             ZOHAR CDO 2003-1, LIMITED; ZOHAR II
             2005-1, LIMITED; and ZOHAR III,
             LIMITED,                                                       Adv. Pro. No. 20-50534

                              Plaintiffs,                                   Ref. Docket No. 7

                              v.

             PATRIARCH PARTNERS, LLC;
             PATRIARCH PARTNERS VIII, LLC;
             PATRIARCH PARTNERS XIV, LLC;
             PATRIARCH PARTNERS XV, LLC;
             PHOENIX VIII, LLC; OCTALUNA LLC;
             OCTALUNA II LLC; OCTALUNA III LLC;
             ARK II CLO 2001-1, LLC; ARK
             INVESTMENT PARTNERS II, LP; ARK
             ANGELS VII, LLC; PATRIARCH
             PARTNERS MANAGEMENT GROUP, LLC;
             PATRIARCH PARTNERS AGENCY
             SERVICES, LLC; and LYNN TILTON,

                              Defendants.


                 ORDER AUTHORIZING FILING OF THE COMPLAINT UNDER SEAL
                      Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

         (collectively, the “Debtors”) for entry of an order, pursuant to section 107(b) of the Bankruptcy



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           The Debtors, and, where applicable, the last four digits of their taxpayer identification number are as follows: Zohar
         III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar III, Limited (9261), Zohar
         II 2005-1, Limited (8297), and Zohar CDO 2003-1, Limited (5119). The Debtors’ address is 3 Times Square, c/o FTI
         Consulting, Inc., New York, NY 10036.
         2
             Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to such terms in the Motion.
26238596.1
                        Case 20-50534-KBO           Doc 11       Filed 04/01/20    Page 2 of 3




         Code, Bankruptcy Rule 9018, Local Rule 9018-1(b), the Settlement Order, and the Settlement

         Agreement, authorizing the Debtors to file the Complaint under seal until the conclusion of the

         monetization process; and upon the recommendation of the Mediator that the Complaint be filed

         under seal pursuant to paragraph twenty-three (23) of the Settlement Agreement, subject to this

         Court’s ultimate determination of the merits of the Debtors’ request to seal the Complaint; and it

         appearing that there is good and sufficient cause for the relief set forth in this Order; and this Court

         having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended

         Standing Order of Reference from the United States District Court for the District of Delaware,

         dated February 29, 2012; and this Court having found that this is a core proceeding pursuant to

         28 U.S.C. § 157(b)(2); and this Court being able to issue a final order consistent with Article III

         of the United States Constitution; and this Court having found that venue of this proceeding and

         the Motion in this District is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and

         due and proper notice of the Motion having been provided under the particular circumstances, and

         it appearing that no other or further notice need be provided; and after due deliberation; and

         sufficient cause appearing therefor, it is hereby

                ORDERED, ADJUDGED, AND DECREED THAT:

                1.      The Motion is GRANTED as set forth herein.

                2.      The Debtors are authorized to file the Complaint, in its entirety, under seal, until

         the conclusion of the monetization process.

                3.      The Complaint shall not be made available to anyone, except to the Court, the U.S.

         Trustee, the Patriarch Stakeholders, MBIA, the Zohar III Controlling Class, Ankura, U.S. Bank,

         the respective advisors for each of the foregoing, and other parties in interest as may be ordered or




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                         Case 20-50534-KBO         Doc 11      Filed 04/01/20   Page 3 of 3




         otherwise required by the Court, and all parties receiving the Complaint shall maintain its

         confidentiality, including in connection with any pleadings filed with this Court.

                 4.      The terms and conditions of this Order shall be immediately effective and

         enforceable upon its entry.

                 5.      The Debtors are authorized and empowered to take all actions necessary to

         implement the relief granted in this Order.

                 6.      This Court shall retain jurisdiction with respect to all matters arising from or

         relating to the interpretation or implementation of this Order.




             Dated: April 1st, 2020                             KAREN B. OWENS
             Wilmington, Delaware                               UNITED STATES BANKRUPTCY JUDGE
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